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 5   Telephone: (928) 817-4300
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 6
     Attorney for Yuma County Defendant
 7

 8                               IN THE UNITED STATES DISTRICT COURT
                                     FOR THE DISTRICT OF ARIZONA
 9
     MI FAMILIA VOTA, et al.,                          Case No. CV-21-01423-PHX-DWL
10
                   Plaintiffs,                         ANSWER OF YUMA COUNTY
11                                                     DEFENDANT
            v.
12   KATIE HOBBS, et al.,
13                 Defendants.

14          Defendant Robyn Stallworth Pouquette, Yuma County Recorder takes no position on the

15   merits of the Complaint, asserts that she is a nominal party to this action, and agrees to abide by

16   any final decision of the Court.

17          Dated this 10th day of November, 2021.

18                                              JON R. SMITH
                                                YUMA COUNTY ATTORNEY
19
                                                /s/ William J. Kerekes
20                                              William J. Kerekes
                                                Chief Civil Deputy County Attorney
21                                              Attorney for Yuma County Defendant

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             Case 2:21-cv-01423-DWL Document 59 Filed 11/10/21 Page 2 of 2




 1                                   CERTIFICATE OF SERVICE

 2         I certify that on November 10, 2021, I electronically transmitted the foregoing Notice of

 3   Appearance to the Clerk’s Office using the CM/ECF System for filing and transmittal of a

 4   Notice of Electronic Filing to the CM/ECF registrants on record.

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     By: /s/ Brenda Luna
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